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            EXHIBIT A
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              IN THE SUPERIOR COURT FOR THE DISTRICT OF COLUMBIA
                               (Civil Actions Branch)


  RYAN SELTZ
  c/o Outten & Golden LLP
  601 Massachusetts Ave. NW, Suite 200W
  Washington, DC 20001                                  PROOF OF SERVICE RE CLASS
                                                         AND COLLECTIVE ACTION
                                   Plaintiff,                  COMPLAINT

         v.                                                      Civil Action No.
                                                                2018-CA-004710 B
  CUSHMAN & WAKEFIELD, INC.
  225 W. Wacker Drive, Suite 300
  Chicago, IL 60606

                                   Defendant.


                                     PROOF OF SERVICE

       I, Sara Olson, under penalties of perjury, certify that the following is true and correct: I

am not a party to this action and am over 18 years of age. On the 16th of August 2018, I caused

to be served true and correct copies of the following documents in the above-captioned case by

Certified Mail and Email:

   •   Summons;
   •   Class and Collection Action Complaint; and
   •   Initial Order and Addendum

to the following attorney for Defendant and who has agreed to accept service on behalf of

Defendant at counsel’s last known address:

                                       Joseph K. Mulherin
                                        Vedder Price P.C.
                                     222 North LaSalle Street
                                       Chicago, IL 60601

Dated: New York, New York
       August 16, 2018
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                                   __________________
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                                   Outten & Golden LLP
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                                   New York, New York 10017
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